                                       Case 3:20-cv-03131-JSC          Document 631         Filed 03/14/25      Page 1 of 20




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                                   6                                 UNITED STATES DISTRICT COURT

                                   7                              NORTHERN DISTRICT OF CALIFORNIA

                                   8

                                   9       IN RE CALIFORNIA GASOLINE SPOT                   Case No. 3:20-cv-03131-JSC
                                           MARKET ANTITRUST LITIGATION
                                  10
                                                                                            ORDER RE: MOTION FOR FINAL
                                  11                                                        APPROVAL AND MOTION FOR
                                                                                            ATTORNEYS’ FEES, EXPENSES, AND
                                  12                                                        SERVICE AWARDS
Northern District of California
 United States District Court




                                  13                                                        Re: Dkt. Nos. 621, 622

                                  14

                                  15          Plaintiffs filed this putative class action bringing state antitrust and unjust enrichment

                                  16   claims against SK Energy Americas, Inc., Vitol Inc., and two individual defendants alleging

                                  17   Defendants formed horizonal agreements to restrain competition and manipulate the spot market

                                  18   for gasoline and gasoline blending components formulated for use in California. Plaintiffs now

                                  19   move for final approval of the class action settlement and for attorneys’ fees, costs, and service

                                  20   awards for the representative Plaintiffs. (Dkt. Nos. 621, 622, 626.1) Having considered the

                                  21   briefing and relevant legal authority, had the benefit of oral argument on March 12, 2025, and

                                  22   given the additional information provided in Plaintiffs’ supplemental submission (Dkt. Nos. 626,

                                  23   627), the Court GRANTS the motion for final approval and GRANTS IN PART and DENIES IN

                                  24   PART the motion for attorneys’ fees, costs, and service awards.

                                  25                                            BACKGROUND

                                  26          The California Attorney General filed a parens patriae action in the San Francisco Superior

                                  27

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                                       1
                                        Record Citations are to material in the Electronic Case File (“ECF”); pinpoint citations are to the
                                       ECF-generated page numbers at the top of the document.
                                       Case 3:20-cv-03131-JSC           Document 631          Filed 03/14/25     Page 2 of 20




                                   1   Court bringing Cartwright Act and UCL claims against Defendants. See The People of the State of

                                   2   California v. Vitol, Inc., et al., Case No. CGC20584456 (S.F. Superior, filed May 4, 2020) (“AG

                                   3   Action”). Two days after the AG Action was filed, Pacific Wine Distributors, Inc., filed the first

                                   4   action in this District. (Dkt. No. 1.) The other named plaintiffs subsequently filed separate actions,

                                   5   each of which was related to this action. The parties thereafter stipulated that all 23 related actions

                                   6   be consolidated for purposes of trial. (Dkt. Nos. 67, 121, 133, 146, 148, 174.) The Court appointed

                                   7   Hausfeld and Girard Sharp as co-lead interim class counsel. (Dkt. No. 167.)

                                   8          After a series of motions to dismiss, Plaintiffs filed a motion for class certification. (Dkt.

                                   9   No. 512.) At the hearing on the motion for class certification, the parties advised the Court a

                                  10   settlement had been reached in the AG action. (Dkt. No. 577.) Over the ensuing months, the

                                  11   parties sought, and the Court granted, a series of requests to stay proceedings while the settlement

                                  12   in the AG Action was finalized and the parties in this action attempted to resolve the claims here.
Northern District of California
 United States District Court




                                  13   On February 1, 2024, the parties advised the Court they had reached a settlement in principle, and

                                  14   ultimately, the underlying motion for preliminary approval was filed. (Dkt. Nos. 595, 601.) At

                                  15   the preliminary approval hearing, the Court ordered Plaintiffs to file a supplemental submission

                                  16   addressing concerns regarding notice and the settlement amount. (Dkt. No. 612.) Plaintiffs then

                                  17   filed a supplemental submission which includes a revised long-form notice. (Dkt. No. 613.) On

                                  18   August 23, 2024, the Court granted Plaintiffs’ motion for preliminary approval. (Dkt. No. 614.)

                                  19          Following notice to the class, Plaintiffs filed the now pending motion for final approval

                                  20   and motion for attorneys’ fees and costs as well as several supplemental declarations regarding

                                  21   claims administration. (Dkt. Nos. 618, 621, 622, 623.) Upon review of the motions, the Court

                                  22   requested supplemental briefing regarding the individual class members’ recovery and Counsels’

                                  23   request for nearly $7 million in litigation expenses. (Dkt. No. 625.) Plaintiffs submitted

                                  24   declarations from Class Counsel and the Settlement Administration addressing the Court’s

                                  25   questions. (Dkt. Nos. 626, 627.) On February 28, 2025, the San Francisco Superior Court granted

                                  26   final approval of the AG Action. (Dkt. No. 626-1.)

                                  27   //

                                  28   //
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                                       Case 3:20-cv-03131-JSC           Document 631          Filed 03/14/25     Page 3 of 20




                                   1                                 THE SETTLEMENT AGREEMENT

                                   2           A.     The Settlement Class
                                   3           The Settlement Class is composed of:

                                   4                  (a) natural persons who, at the time of purchase, were not residents of
                                                      the State of California, and (b) all Persons that are not natural persons,
                                   5                  wherever located, that: (i) purchased Gasoline from a retailer, (ii) for
                                                      their own use and not for resale, (iii) within the State of California,
                                   6                  (iv) from February 18, 2015, through May 31, 2017.
                                   7   (Dkt. No. 601-2, Settlement Agreement, § 1.26.) The Settlement Class excludes:

                                   8
                                                      (a) the California Attorney General, bringing suit in the name of the
                                   9                  People of the State of California, including in his role as parens
                                                      patriae for natural persons residing in the State of California, as
                                  10                  pleaded in the complaint in the People’s Action; (b) the Settling
                                                      Defendants or any other named defendant in the litigation; (c)
                                  11                  officers, directors, employees, legal representatives, heirs, successors,
                                                      or wholly or partly owned subsidiaries or affiliated companies of the
                                  12                  Settling Defendants or any other named defendant in the litigation;
Northern District of California
 United States District Court




                                                      (d) Class Counsel and their respective partners and employees; (e) the
                                  13                  Court and other judicial officers, their immediate family members,
                                                      and associated court staff assigned to the Litigation; and (f) those
                                  14                  individuals who timely and validly exclude themselves from the
                                                      Settlement Class.
                                  15
                                       (Id.)
                                  16
                                               B.     Payment Terms
                                  17
                                               The Settlement Agreement requires Defendants to establish a non-reversionary Gross
                                  18
                                       Settlement Fund of $13.9 million in an escrow account maintained by Huntington National Bank.
                                  19
                                       (Id. at §§ 1.9, 1.13, 1.15, 3.1, 3.6.) Under the Settlement Agreement, the following amounts, as
                                  20
                                       approved by the Court, may be deducted from the Gross Settlement Fund to yield the Net
                                  21
                                       Settlement Fund: (1) the costs of notice and administration, (2) litigation costs, and (3) service
                                  22
                                       awards for the Settlement Class Representatives. (Id. at § 1.15.) Plaintiffs intend to seek recovery
                                  23
                                       of attorneys’ fees from the Net Settlement Amount. (Dkt. No. 613 at 4.)
                                  24
                                               The Plan of Allocation for dividing the Net Settlement Fund among class members
                                  25
                                       recognizes two different pools of Settlement Class Members: (1) businesses, and (2) and non-
                                  26
                                       California consumers. (Dkt. No. 601 at 26; Dkt. No. 601-3, Plan of Allocation, § 2.) The Net
                                  27
                                       Settlement Fund will be distributed in pro rata shares among these two pools based on “the
                                  28
                                                                                          3
                                       Case 3:20-cv-03131-JSC              Document 631          Filed 03/14/25     Page 4 of 20




                                   1   relative strength of the claims depending on where the Gasoline was purchased (Southern or

                                   2   Northern California)” as follows:

                                   3                      (1) 85% of the Settlement Fund will be allocated to compensate
                                                          businesses that allegedly paid supracompetitive prices for Gasoline
                                   4                      due to Defendants’ conduct, and the remaining 15% of the Settlement
                                                          Fund will be allocated to non-California natural persons (unless that
                                   5                      leads to compensation of either group beyond their collective single
                                                          damages),
                                   6
                                                          (2) Gasoline purchases made in Southern California will be
                                   7                      compensated at twice the rate compared to those in Northern
                                                          California (purchases in Southern California will carry weight of 1
                                   8                      and purchases in Northern California will carry a weight of 0.5).
                                   9   (Dkt. No. 601 at 26 (citing Dkt. No. 601-3, Plan of Allocation, §§ 22-25).)

                                  10           Any funds unclaimed after six months “shall be redistributed among those Eligible

                                  11   Claimants who have cashed their checks and who would receive at least $15 from the

                                  12   redistribution, after payment of any additional costs or fees incurred in administering the Net
Northern District of California
 United States District Court




                                  13   Settlement Fund for the redistribution.” (Dkt. No. 601-3 at § 29.) However, if Class Counsel

                                  14   decide “redistribution would be uneconomical” they may seek an order approving of a cy pres

                                  15   recipient. (Id. at § 30.)

                                  16           C.         Scope of Release
                                  17           Any Settlement Class member who does not submit a timely request for exclusion releases:

                                  18                      any and all manner of claims, including Unknown Claims, causes of
                                                          action, cross-claims, counter-claims, charges, liabilities, demands,
                                  19                      judgments, suits, obligations, debts, setoffs, rights of recovery, or
                                                          liabilities for any obligations of any kind whatsoever (however
                                  20                      denominated), whether class or individual, in law or equity or arising
                                                          under constitution, statute, regulation, ordinance, contract, or
                                  21                      otherwise in nature, for fees, costs, penalties, fines, debts, expenses,
                                                          attorneys' fees, or damages, whenever incurred, and liabilities of any
                                  22                      nature whatsoever (including joint and several), known or unknown,
                                                          suspected or unsuspected, asserted or unasserted, which Plaintiffs or
                                  23                      any Settlement Class Member ever had, now have, or hereafter can,
                                                          shall or may have, individually, representatively, derivatively, or in
                                  24                      any other capacity, against the Defendant Releasees, arising from or
                                                          related in any way to the conduct alleged in this Action, or that could
                                  25                      have been alleged in this Action that also arise from or relate to the
                                                          factual predicate of the Action, to the fullest extent allowed by law,
                                  26                      with respect to purchases and/or use of Gasoline within the State of
                                                          California during the period of February 18, 2015 through May 31,
                                  27                      2017.
                                  28   (Id. at § 1.29.)
                                                                                             4
                                       Case 3:20-cv-03131-JSC           Document 631          Filed 03/14/25     Page 5 of 20



                                                D.      Notice
                                   1
                                                Plaintiffs selected Verita Global, LLC as the Settlement Administer. (Dkt. No. 601-1,
                                   2
                                       Sharp Decl. at ¶ 25.) On October 2, 2024, the Settlement Administrator provided notice of the
                                   3
                                       settlement via direct notice (postcard and email) when contact information was reasonably
                                   4
                                       available, and by widespread publication notice on relevant websites and social media platforms
                                   5
                                       which comprised approximately 147,293,441 impressions targeting likely Settlement Class
                                   6
                                       Members. (Dkt. No. 622-1, Cooley Decl. at ¶¶ 4-7.) All notices contained a QR code and URL
                                   7
                                       directing Settlement Class Members to a website dedicated to this matter and the parallel matter
                                   8
                                       brought by the California Attorney General. (Id. ¶ 9.) The Settlement Administrator also
                                   9
                                       established a toll-free telephone number to answer questions regarding the Settlement Agreement.
                                  10
                                       (Id. at ¶ 10.)
                                  11
                                                The deadline for Class Members to file claims, requests for exclusion, and objections was
                                  12
Northern District of California




                                       January 8, 2025. (Id. at ¶ 12.) The Settlement Administrator received 8,175 timely-filed claim
 United States District Court




                                  13
                                       forms, of which 1,548 are from businesses and 6,627 are from individuals. (Dkt. No. 627, 2nd
                                  14
                                       Supp. Cooley Decl. at ¶ 4.) The Settlement Administrator received 60 timely requests for
                                  15
                                       exclusion, of which 8 are on behalf of businesses and the remaining 52 are from individuals. (Dkt.
                                  16
                                       No. 613-1, Supp. Cooley Decl. at ¶ 9.) The Settlement Administrator received no objections. (Id.
                                  17
                                       ¶ 10.)
                                  18
                                                Between January 9 and 28, 2025, the Settlement Administrator received inquiries from
                                  19
                                       individuals and entities who stated they were unable to file their claims by January 8, 2025
                                  20
                                       because of the Southern California wildfires. (Dkt. No. 624 at 3.) None of these individuals
                                  21
                                       indicated they intended to object or opt-out of the settlement. (Id.) Class Counsel recommends
                                  22
                                       allowing these individuals and entities who contacted the Settlement Administrator prior to
                                  23
                                       January 28, 2025 to file a late claim.
                                  24
                                                                                  DISCUSSION
                                  25
                                                The approval of a settlement is a multi-step process. At the preliminary approval stage, the
                                  26
                                       court should grant such approval only if it is justified by the parties’ showing that the court will
                                  27
                                       likely be able to (1) “certify the class for purposes of judgment on the proposal” and (2) “approve
                                  28
                                                                                          5
                                       Case 3:20-cv-03131-JSC           Document 631          Filed 03/14/25      Page 6 of 20




                                   1   the proposal under Rule 23(e)(2).” Fed. R. Civ P. 23(e)(B). If the court preliminarily certifies the

                                   2   class and finds the settlement appropriate after “a preliminary fairness evaluation,” then the class

                                   3   will be notified, and a final fairness hearing scheduled to determine if the settlement is fair,

                                   4   adequate, and reasonable pursuant to Rule 23. Villegas v. J.P. Morgan Chase & Co., No. CV 09-

                                   5   00261 SBA (EMC), 2012 WL 5878390, at *5 (N.D. Cal. Nov. 21, 2012).

                                   6          At the second stage, “after notice is given to putative class members, the Court entertains

                                   7   any of their objections to (1) the treatment of the litigation as a class action and/or (2) the terms of

                                   8   the settlement.” Ontiveros v. Zamora, 303 F.R.D. 356, 363 (E.D. Cal. Oct. 8, 2014) (citing Diaz v.

                                   9   Tr. Territory of Pac. Islands, 876 F.2d 1401, 1408 (9th Cir. 1989)). Following the final fairness

                                  10   hearing, the Court must finally determine whether the parties should be allowed to settle the class

                                  11   action pursuant to their agreed upon terms. See Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc.,

                                  12   221 F.R.D. 523, 525 (C.D. Cal. 2004).
Northern District of California
 United States District Court




                                  13   I.     CLASS CERTIFICATION
                                  14          Final approval of a class action settlement requires, as a threshold matter, an assessment of

                                  15   whether the class satisfies the requirements of Federal Rule of Civil Procedure 23(a) and (b).

                                  16   Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019–1022 (9th Cir. 1998). Because no facts that would

                                  17   affect these requirements have changed since the Court preliminarily approved the class on August

                                  18   23, 2024, this Order incorporates by reference the Court’s prior analysis under Rules 23(a) and (b)

                                  19   as set forth in the Order granting preliminary approval. (Dkt. No. 614 at 7-10.)

                                  20   II.    ADEQUACY OF NOTICE
                                  21          Under Federal Rule of Civil Procedure 23(e), the Court “must direct notice in a reasonable

                                  22   manner to all class members who would be bound by the proposal.” Fed. R. Civ. P. 23(e)(1).

                                  23   Notice includes “[n]otice of the motion [for attorney’s fees which] must be served on all parties

                                  24   and, for motions by class counsel, directed to class members in a reasonable manner.” Fed. R. Civ.

                                  25   P. 23(h)(1).

                                  26          Rule 23(c)(2)(B) requires “the best notice that is practicable under the circumstances,

                                  27   including individual notice to all members who can be identified through reasonable effort.” The

                                  28   notice must “clearly and concisely state in plain, easily understood language” the nature of the
                                                                                          6
                                       Case 3:20-cv-03131-JSC           Document 631          Filed 03/14/25     Page 7 of 20




                                   1   action, the class definition, and the class members’ right to exclude themselves from the class.

                                   2   Fed. R. Civ. P. 23(c)(2)(B); see also Churchill Village, L.L.C. v. General Electric, 361 F.3d 566,

                                   3   575 (9th Cir. 2004) (“Notice is satisfactory if it generally describes the terms of the settlement in

                                   4   sufficient detail to alert those with adverse viewpoints to investigate and to come forward and be

                                   5   heard.”) (cleaned up). Although Rule 23 requires reasonable efforts be made to reach all class

                                   6   members, it does not require that each class member actually receive notice. See Silber v. Mabon,

                                   7   18 F.3d 1449, 1454 (9th Cir. 1994) (noting the standard for class notice is “best practicable”

                                   8   notice, not “actually received” notice).

                                   9          The Court finds the notice plan previously approved by the Court, as implemented by the

                                  10   Settlement Administrator, complies with Rule 23(c)(2)(B). First, the Settlement Administrator

                                  11   provided four types of notice: email notice, postcard notice, digital notices to be distributed on

                                  12   social media platforms, and a long-form notice accessible via the settlement website. (Dkt. Nos.
Northern District of California
 United States District Court




                                  13   601-7, 601-08, 601-9, 601-11.) Second, the short form notices (the email, postcard, and digital

                                  14   notices) clearly and concisely provide an overview of the lawsuit and the claims process and

                                  15   provide clear instructions for how to obtain more information and file a claim, and the long-form

                                  16   notice describes the allegations and claims in plain language, defines the two components of the

                                  17   Settlement Class (California businesses, and non-California consumers), includes contact

                                  18   information for Class Counsel and the Settlement Administrator, summarizes the settlement

                                  19   amount and the Plan of Allocation, provides a range of possible recovery, and directs class

                                  20   members to a website, email, and toll-free number for additional information. Third, the

                                  21   Settlement Administrator maintained both a website with information about the case and

                                  22   settlement and a toll-free hotline. (Dkt. No. 622-1 at ¶¶ 9-11.) Fourth, between October 2, 2024,

                                  23   the notice date, and January 8, 2025, the claims deadline, the Settlement Administrator received

                                  24   8,050 claims, 60 requests for exclusion, and no objections. (Dkt. No. 623-2 at ¶¶ 8-9.)

                                  25          Given the above, the Court concludes the parties have sufficiently provided the best

                                  26   practicable notice to class members.

                                  27   III.   FINAL APPROVAL OF THE SETTLEMENT AGREEMENT
                                  28          To grant final approval, the Court must find that the terms of the parties’ settlement are
                                                                                          7
                                       Case 3:20-cv-03131-JSC           Document 631         Filed 03/14/25     Page 8 of 20




                                   1   fair, adequate, and reasonable under Rule 23(e). In re California Pizza Kitchen Data Breach

                                   2   Litig., No. 23-55288, -- F.4th --, 2025 WL 583419, at *5 (9th Cir. Feb. 24, 2025). In making this

                                   3   determination, courts generally must consider the following factors:

                                   4                  (1) the strength of the plaintiff’s case; (2) the risk, expense,
                                                      complexity, and likely duration of further litigation; (3) the risk of
                                   5                  maintaining class action status throughout the trial; (4) the amount
                                                      offered in settlement; (5) the extent of discovery completed and the
                                   6                  stage of the proceedings; (6) the experience and views of counsel; (7)
                                                      the presence of a governmental participant; and (8) the reaction of the
                                   7                  class members to the proposed settlement.
                                   8   Churchill, 361 F.3d at 575. “This list is not exclusive and different factors may predominate in

                                   9   different factual contexts.” Torrisi v. Tucson Elec. Power Co., 8 F.3d 1370, 1376 (9th Cir. 1993).

                                  10          Under the revised Rule 23(e), the Court must also consider whether the settlement resulted

                                  11   from collusion among the parties. See Briseno v. Henderson, 998 F.3d 1014, 1023 (9th Cir. 2021)

                                  12   (holding that courts must apply the collusion factors set forth in In re Bluetooth Headset Products
Northern District of California
 United States District Court




                                  13   Liability Litigation, 654 F.3d 935, 941 (9th Cir. 2011), to post-class action settlements as well as

                                  14   those settled before certification.) When the settlement is reached pre-certification, however, the

                                  15   court must apply “an even higher level of scrutiny” and “substantively grapple with whether the

                                  16   Bluetooth warning signs created an unfair settlement.” McKinney-Drobnis v. Oreshack, 16 F.4th

                                  17   594, 608 (9th Cir. 2021) (cleaned up).

                                  18          A.      The Fairness Factors
                                  19                  1.      The Strength of Plaintiffs’ Case and Risk, Expense, Complexity, and
                                                              Likely Duration of Further Litigation
                                  20
                                              The Court first considers “the strength of [Plaintiffs’] case on the merits balanced against
                                  21
                                       the amount offered in the settlement.” See Nat’l Rural Telecommunications Coop. v. DIRECTV,
                                  22
                                       Inc., 221 F.R.D. 523, 526 (C.D. Cal. 2004) (internal quotation marks and citation omitted).
                                  23
                                       Although this action settled before the Court ruled on the merits of Plaintiffs’ claims, the Court
                                  24
                                       need not reach an ultimate conclusion about the merits of the dispute “for it is the very uncertainty
                                  25
                                       of outcome in litigation and avoidance of wasteful and expensive litigation that induce consensual
                                  26
                                       settlements.” Officers for Justice v. Civil Serv. Comm’n of City & Cty. of San Francisco, 688 F.2d
                                  27
                                       615, 625 (9th Cir. 1982). To that end, there is no “particular formula by which th[e] outcome must
                                  28
                                                                                         8
                                       Case 3:20-cv-03131-JSC           Document 631          Filed 03/14/25      Page 9 of 20




                                   1   be tested.” Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 965 (9th Cir. 2009). Rather, the Court’s

                                   2   assessment of the likelihood of success is “nothing more than an amalgam of delicate balancing,

                                   3   gross approximations and rough justice.” Id. (internal quotation marks and citation omitted). “In

                                   4   reality, parties, counsel, mediators, and district judges naturally arrive at a reasonable range for

                                   5   settlement by considering the likelihood of a plaintiffs’ or defense verdict, the potential recovery,

                                   6   and the chances of obtaining it, discounted to a present value.” Id.

                                   7          Here, although Plaintiffs believe they have a strong case, they recognize the expense, risk,

                                   8   and length of continued proceedings necessary to prosecute the action through trial and potential

                                   9   appeal. At the time the parties settled the action, Plaintiffs’ motion for class certification and the

                                  10   parties’ Dabuert briefing was pending before the Court. Plaintiffs acknowledge the risk the Court

                                  11   might not have certified the class, and even if it had, prevailing on their claims at trial was not

                                  12   certain given “trial [would] involve a clash of expert analyses as to whether Defendants’ actions
Northern District of California
 United States District Court




                                  13   were anticompetitive; how damages should be calculated; and what damages, if any, should be

                                  14   awarded, particularly given what Defendants described as the ‘umbrella damages’ theory of this

                                  15   case.” (Dkt. No. 622 at 15.)

                                  16          Given the risks posed by continuing to litigate Plaintiffs’ claims, the certainty of Class

                                  17   Member recovery under the settlement weighs in favor of granting final approval.

                                  18                  2.      Settlement Amount
                                  19          When considering the fairness and adequacy of the amount offered in settlement, “it is the

                                  20   complete package taken as a whole, rather than the individual component parts, that must be

                                  21   examined for overall fairness.” DIRECTV, Inc., 221 F.R.D. at 527. “[I]t is well-settled law that a

                                  22   proposed settlement may be acceptable even though it amounts to only a fraction of the potential

                                  23   recovery that might be available to the class members at trial.” Id. (collecting cases).

                                  24          The Court previously concluded the amount of the settlement, $13.9 million, was within

                                  25   the range of possible approval. (Dkt. No. 614 at 13-14.) Plaintiffs’ expert, Dr. Meyendorff,

                                  26   opined the damages for the Cartwright Act claim for businesses and non-California resident

                                  27   natural persons was $42.34 million (before trebling) and Vitol and SKEA were unjustly enriched

                                  28   by $19.5 million. (Dkt. 545-4 at 42; Dkt. No. 512-4 at 38.) Thus, the settlement amount is
                                                                                          9
                                       Case 3:20-cv-03131-JSC         Document 631           Filed 03/14/25    Page 10 of 20




                                   1   approximately 33% of the Cartwright Act damages or 71% of the amount by which Defendants

                                   2   were allegedly unjustly enriched. Plaintiffs submitted a summary of past distributions in

                                   3   comparable settlements which reflects that the amounts here are within the range of approval.

                                   4   (Dkt. No. 601-5.)

                                   5          Given the nature and scope of the claims at issue, particularly after the California Attorney

                                   6   General settled claims on behalf of California natural persons, the $13.9 million Settlement

                                   7   Amount weighs in favor of final approval.

                                   8                  3.      Extent of Discovery Completed and Stage of Proceedings
                                   9          In the context of class action settlements, as long as the parties have sufficient information

                                  10   to make an informed decision about settlement, “formal discovery is not a necessary ticket to the

                                  11   bargaining table.” Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1239 (9th Cir. 1998). Rather,

                                  12   a court’s focus is on whether “the parties carefully investigated the claims before reaching a
Northern District of California
 United States District Court




                                  13   resolution.” Ontiveros v. Zamora, 303 F.R.D. 356, 371 (E.D. Cal. 2014). The Court’s preliminary

                                  14   approval order discussed the litigation history and the discovery obtained prior to settlement. (Dkt.

                                  15   No. 614 at 12.) The settlement was reached here with the assistance of an experienced mediator.

                                  16          The Court thus concludes this factor likewise weighs in favor of final approval.

                                  17                  4.      Experience and Views of Counsel
                                  18          The experience and views of counsel also weigh in favor of approving the settlement.

                                  19   Class counsel has extensive experience in class action and antitrust litigation and strongly support

                                  20   approval of the settlement given the risks and challenges involved.

                                  21                  5.      Presence of a Government Participant
                                  22          No government entity is a party to this action.

                                  23                  6.      Reaction of Class Members
                                  24          As previously discussed, the Settlement Administrator provided notice through a press

                                  25   release, digital marketing campaign, and direct email/mail. The Settlement Administrator

                                  26   estimates the digital marketing campaign reached over 70% of Class Members. (Dkt. No. 622-1 at

                                  27   ¶ 6.) While a portion of the email and mail notices were returned, the Settlement Administrator

                                  28   reissued notice in postcard form to the individuals whose emails were returned, and did address
                                                                                        10
                                       Case 3:20-cv-03131-JSC            Document 631         Filed 03/14/25    Page 11 of 20




                                   1   searches and remailing for those for whom mail notice was returned. (Dkt. No. 622-1 at ¶¶ 7-8.)

                                   2   The Settlement Administrator received a total of 8,175 timely-filed claims, 60 requests for

                                   3   exclusion, and no objections. (Dkt. No. 623-1 at ¶¶ 8-10; Dkt. No. 627 at ¶ 4.) “[T]he absence of

                                   4   a large number of objections to a proposed class action settlement raises a strong presumption that

                                   5   the terms of a proposed class settlement action are favorable to the class members.” In re

                                   6   Omnivision Techs., Inc., 559 F.Supp.2d 1036, 1043 (N.D. Cal. 2008) (citation omitted); see also

                                   7   Churchill Vill., 361 F.3d at 577 (holding approval of a settlement that received 45 objections

                                   8   (0.05%) and 500 opt-outs (0.56%) out of 90,000 class members was proper).

                                   9          The Court also looks at the claims rate as a sign of class member sentiment regarding the

                                  10   settlement. See Rodriguez, 563 F.3d at 967. The claims rate here is approximately 2.55% for

                                  11   business and .12% for non-California consumers based on Class Counsels’ estimate of the class

                                  12   size. (Dkt. No. 624 at 2; Dkt. No. 627 at ¶ 4.) While this is less than the Settlement
Northern District of California
 United States District Court




                                  13   Administrator’s estimated claims rate, given the parallel AG action, the Court concludes the

                                  14   claims rate here does not weigh against final approval. (Dkt. No. 601-6 at ¶ 37.) It is also “on par

                                  15   with other consumer cases, and does not otherwise weigh against approval.” Schneider v.

                                  16   Chipotle Mexican Grill, Inc., 336 F.R.D. 588, 599 (N.D. Cal. 2020) (granting final approval where

                                  17   the claims rate was .83% claims rate and collecting similar cases).

                                  18                                                    ***

                                  19          In sum, the fairness factors weigh in favor of granting Plaintiffs’ motion for final approval

                                  20   of the class action settlement.

                                  21          B.      The Bluetooth Factors
                                  22          Finally, the Court must determine whether the settlement was the result of good faith,

                                  23   arms-length negotiations or fraud and collusion. In re Bluetooth Headset Prod. Liab. Litig., 654

                                  24   F.3d 935, 947 (9th Cir. 2011). In determining whether the settlement is the result of collusion,

                                  25   courts “must be particularly vigilant not only for explicit collusion, but also for more subtle signs

                                  26   that class counsel have allowed pursuit of their own self-interest and that of certain class members

                                  27   to infect the negotiations.” Id. The Ninth Circuit has identified three such signs:

                                  28                  (1) when counsel receive a disproportionate distribution of the
                                                                                         11
                                       Case 3:20-cv-03131-JSC           Document 631         Filed 03/14/25       Page 12 of 20



                                                      settlement, or when the class receives no monetary distribution but
                                   1                  class counsel are amply rewarded;
                                   2                  (2) when the parties negotiate a ‘clear sailing’ arrangement providing
                                                      for the payment of attorneys’ fees separate and apart from class funds,
                                   3                  which carries the potential of enabling a defendant to pay class
                                                      counsel excessive fees and costs in exchange for counsel accepting an
                                   4                  unfair settlement on behalf of the class; and
                                   5                  (3) when the parties arrange for fees not awarded to revert to
                                                      defendants rather than be added to the class fund.
                                   6
                                       Id. at 947 (internal quotation marks and citations omitted).
                                   7
                                              For the first Bluetooth factor, the Court compares the payout to the class to class counsel’s
                                   8
                                       claim for fees. See In re California Pizza Kitchen Data Breach Litig., 2025 WL 583419, at *6
                                   9
                                       (“class counsel receiving a disproportionately large fee award compared to what the class
                                  10
                                       members received signals potential collusion.”) The Settlement Administrator estimates the
                                  11
                                       average class member recovery will be $20.61 for the consumer claimants and $800.88 for the
                                  12
Northern District of California




                                       business claimants, but this does not include the top 13 business claimants whose projected
 United States District Court




                                  13
                                       recovery is over $20,000. (Dkt. No. 627 at ¶ 8.) Class counsel seek 30 percent of the Net
                                  14
                                       Settlement Amount (the Gross Settlement Amount minus litigation costs, service awards, and the
                                  15
                                       Settlement Administrator costs), which it estimates at between $2,058,169.82 and $1,908,169.82.
                                  16
                                       (Dkt. No. 621 at 6-7, 16.) This percentage alone may be a sign of collusion. See Bluetooth, 654
                                  17
                                       F.3d at 947. However, because Class Counsel’s lodestar is $17,721,644.50, the fee requested is
                                  18
                                       approximately 11.3% of this and thus equals a negative multiplier. (Dkt. No. 621-1, Sharp Decl. at
                                  19
                                       ¶ 50.) This is true even when the $3 million in fees Class Counsel was awarded in the AG Action
                                  20
                                       is included as even with that amount included the total fees Class Counsel would receive
                                  21
                                       (assuming $2 million here and $3 million in the AG Action) is 28 percent of their lodestar. (Dkt.
                                  22
                                       No. 621 at 25; Dkt. No. 626-1 at 6.) Thus, while the high percentage is a red flag, it does not raise
                                  23
                                       a concern regarding collusion.
                                  24
                                              The second warning sign—a “clear sailing” provision—is not present here. See Bluetooth,
                                  25
                                       654 F.3d at 940, n.6 (“a ‘clear sailing agreement,’ wherein the defendant agrees not to oppose a
                                  26
                                       petition for a fee award up to a specified maximum value.”). Defendants did not agree they would
                                  27
                                       not oppose Plaintiffs’ request for fees. (Dkt. No. 601-2 at 15, § 15.4.)
                                  28
                                                                                        12
                                       Case 3:20-cv-03131-JSC          Document 631          Filed 03/14/25      Page 13 of 20




                                   1          The third warning sign—whether the parties have arranged for fees not awarded to the

                                   2   class to revert to the defendant rather than be added to the settlement fund, see Bluetooth, 654 F.3d

                                   3   at 948—is also not present here. The Settlement Agreement is non-reversionary—all of the funds

                                   4   will be distributed to the class members. (Dkt. No. 601-2 at 9, § 3.6.)

                                   5          The Court thus concludes the Settlement Agreement did not result from, nor was it

                                   6   influenced by, collusion. Instead, the Settlement Agreement adequately satisfies the settlement

                                   7   Class Members’ claims.

                                   8                                                   ***

                                   9          In sum, the Churchill fairness factors support approval, and the Bluetooth factors do not

                                  10   indicate collusion. The Court is therefore satisfied the Settlement Agreement was not the result of

                                  11   collusion between the parties and instead is the product of arms-length negotiations between

                                  12   experienced and professional counsel. For each of these reasons, the Settlement Agreement passes
Northern District of California
 United States District Court




                                  13   muster under Rule 23(e) and final approval is appropriate.

                                  14   IV.    MOTION FOR ATTORNEYS’ FEES, COSTS, AND CLASS REPRESENTATIVE
                                              SERVICE AWARD
                                  15
                                              A.      Attorneys’ Fees
                                  16
                                              Rule 23 permits a court to award “reasonable attorneys’ fees ... that are authorized by law
                                  17
                                       or by the parties’ agreement.” Fed. R. Civ. P. 23(h). “Attorneys’ fees provisions included in
                                  18
                                       proposed class action settlement agreements are, like every other aspect of such agreements,
                                  19
                                       subject to the determination of whether the settlement is ‘fundamentally fair, adequate, and
                                  20
                                       reasonable.’” Staton v. Boeing Co., 327 F.3d 938, 963 (9th Cir. 2003) (quoting Fed. R. Civ. P.
                                  21
                                       23(e)). The Ninth Circuit has approved two methods of determining attorney’s fees in cases where
                                  22
                                       the amount of the attorney’s fee award is taken from the common fund set aside for the entire
                                  23
                                       settlement: the “percentage of the fund” method and the “lodestar” method. Vizcaino v. Microsoft
                                  24
                                       Corp., 290 F.3d 1043, 1047 (9th Cir. 2002) (citation omitted). The district court retains discretion
                                  25
                                       in common fund cases to choose either method. Id. Under either approach, “[r]easonableness is the
                                  26
                                       goal, and mechanical or formulaic application of either method, where it yields an unreasonable
                                  27
                                       result, can be an abuse of discretion.” Fischel v. Equitable Life Assurance Soc’y of the U.S., 307
                                  28
                                                                                        13
                                       Case 3:20-cv-03131-JSC          Document 631           Filed 03/14/25   Page 14 of 20




                                   1   F.3d 997, 1007 (9th Cir. 2002).

                                   2                  1.      Percentage-of-Recovery Method
                                   3          The Ninth Circuit uses a 25 percent of the fund “benchmark” for awarding fees. Bluetooth,

                                   4   654 F.3d at 942. “An adjustment, either up or down, must be accompanied by a reasonable

                                   5   explanation of why the benchmark is unreasonable under the circumstances.” Reyes v. Experian

                                   6   Information Services, Inc., 856 Fed. Appx. 108, 110 (9th Cir. 2021) (cleaned up). Here, Class

                                   7   Counsel seeks an award of attorneys’ fees that would be 30 percent of the Net Settlement Amount,

                                   8   which counsel estimates would be between $2,058.169.82 and $1,908,169.82. (Dkt. No. 621 at 7.)

                                   9   The Court finds that an upward adjustment for a fee award of 30 percent of the common fund is

                                  10   appropriate for several reasons.

                                  11          First, Class Counsel achieved substantial results in this case. The damages estimate was

                                  12   $42 million, while this “applied to a proposed litigation class period that was shorter than the class
Northern District of California
 United States District Court




                                  13   period in the settlement, Class Counsel and their experts carefully analyzed potential damages for

                                  14   the broader time period and concluded $42 million was the extent of damages that gasoline

                                  15   purchasers would likely recover in a class trial.” (Dkt. No. 621-1, Sharp Decl. at ¶ 42.) The $13.9

                                  16   million settlement thus represents approximately one-third of Class Members’ estimated single

                                  17   damages. (Id. at ¶ 43.) This percentage is consistent with that in other antitrust cases. See

                                  18   Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 964-65 (9th Cir. 2009) (antitrust settlement for 30%

                                  19   of plaintiffs’ estimated damages was fair and reasonable); (Dkt. No. 621 at 18 (collecting cases).)

                                  20          Second, as discussed above, there were significant risks of continuing with the litigation,

                                  21   not the least of which was obtaining certification of a class.

                                  22          Third, the requested fee is of the Net Settlement Amount, not the gross amount. After the

                                  23   Court raised concerns regarding counsel’s request for over $7 million in litigation costs, Plaintiffs

                                  24   revised their fee request to be a percentage of the net amount (common fund minus the litigation

                                  25   costs, settlement administration costs, and service awards).

                                  26          Fourth, there were no objections either to the settlement or the attorneys’ fee request, and

                                  27   no requests to opt-out were received.

                                  28          Finally, as explained below, a 30 percent award is supported by the lodestar cross-check.
                                                                                         14
                                       Case 3:20-cv-03131-JSC          Document 631           Filed 03/14/25    Page 15 of 20



                                                      2.       Lodestar Method
                                   1
                                              The lodestar method “requires multiplying a reasonable hourly rate by the number of hours
                                   2
                                       reasonably expended on the case.” Shirrod v. Dir., Office of Workers' Comp. Programs, 809 F.3d
                                   3
                                       1082, 1086 (9th Cir. 2015). “In determining reasonable hours, counsel bears the burden of
                                   4
                                       submitting detailed time records justifying the hours claimed to have been expended.” Chalmers
                                   5
                                       City of Los Angeles, 796 F.2d 1205, 1210 (9th Cir. 1986), amended on denial of reh'g, 808 F.2d
                                   6
                                       1373 (9th Cir. 1987).
                                   7
                                              Class Counsel calculates their lodestar at $17,721,644.50. (Dkt. No. 621-1, Sharp Decl. at
                                   8
                                       ¶¶ 50-52.)
                                   9
                                                               a.     Reasonable Rate
                                  10
                                              “In determining a reasonable hourly rate, the district court should be guided by the rate
                                  11
                                       prevailing in the community for similar work performed by attorneys of comparable skill,
                                  12
Northern District of California




                                       experience, and reputation.” Chalmers, 796 F.2d at 1210-11 (citation omitted). The relevant
 United States District Court




                                  13
                                       community for the purposes of determining the prevailing market rate is generally the “forum in
                                  14
                                       which the district court sits.” Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 979 (9th Cir. 2008)
                                  15
                                       (citation omitted). In addition to affidavits from the fee applicant, other evidence of prevailing
                                  16
                                       market rates may include affidavits from other area attorneys or examples of rates awarded to
                                  17
                                       counsel in previous cases. See Cotton v. City of Eureka, 889 F. Supp. 2d 1154, 1167 (N.D. Cal.
                                  18
                                       2012) (citation omitted). Civil Local Rule 54-5(b)(3) requires the party seeking fees to submit “[a]
                                  19
                                       brief description of relevant qualifications and experience and a statement of the customary hourly
                                  20
                                       charges of each such person or of comparable prevailing hourly rates or other indication of value
                                  21
                                       of the services.”
                                  22
                                              In support of the motion for attorneys’ fees, Class Counsel submitted a declaration from
                                  23
                                       co-lead counsel Dena Sharp and Christopher Lebsock which attach charts setting forth billing
                                  24
                                       summaries for each biller and a compendium of declarations for the other seven class firms setting
                                  25
                                       forth the same. (Dkt. No. 621-1; Dkt. No. 621-2.) Class Counsel’s hourly rates are supported by
                                  26
                                       their own declarations attesting to similar awards in prior cases. (Dkt. No. 621-1 at ¶¶ 53-54; Dkt.
                                  27
                                       No. 621-2 at pp. 9, 11, 17, 18, 24, 30, 35, 41, 50.) Further, the rates requested in this case are
                                  28
                                                                                         15
                                       Case 3:20-cv-03131-JSC          Document 631          Filed 03/14/25    Page 16 of 20




                                   1   within the range of rates approved in consumer class actions in this District. See In re MacBook

                                   2   Keyboard Litig., No. 5:18-CV-02813-EJD, 2023 WL 3688452, at *15 (N.D. Cal. May 25, 2023)

                                   3   (collecting cases approving similar rates in consumer class actions). While the Court need not and

                                   4   does not decide that the exact rates requested by counsel are reasonable, they are at least within the

                                   5   range of reasonableness required to use the lodestar figure as a cross check. Joh v. Am. Income

                                   6   Life Ins. Co., No. 18-CV-06364-TSH, 2021 WL 66305, at *7 (N.D. Cal. Jan. 7, 2021) (“Where a

                                   7   lodestar is merely being used as a cross-check, the court may use a rough calculation of the

                                   8   lodestar.”) (internal quotation marks and citation omitted)).

                                   9          Class Counsel also submitted detailed declarations describing the myriad of work

                                  10   performed in this action over the last five years and documenting categories of time entries. (Dkt.

                                  11   No. 621-1 at ¶¶ 45-55; Dkt. No. 621-2.) Upon review, the reported hours spent litigating this case

                                  12   are not plainly unreasonable.
Northern District of California
 United States District Court




                                  13          Finally, the requested award of at most $2,058.169.82 is approximately 28.5 percent of the

                                  14   reported $17,721,644.50 lodestar. “A negative multiple strongly suggests the reasonableness of a

                                  15   negotiated fee.” Moreno v. Cap. Bldg. Maint. & Cleaning Servs., Inc., No. 19-CV-07087-DMR,

                                  16   2021 WL 4133860, at *6 (N.D. Cal. Sept. 10, 2021) (cleaned up). The lodestar cross-check thus

                                  17   supports the fee award here.

                                  18                                                   ***

                                  19          In sum, both the percentage-of-recovery and the lodestar analyses support the requested fee

                                  20   award of 30 percent of the Net Settlement Amount.

                                  21          B.      Costs
                                  22          “There is no doubt that an attorney who has created a common fund for the benefit of the

                                  23   class is entitled to reimbursement of reasonable litigation expenses from that fund.” Ontiveros v.

                                  24   Zamora, 303 F.R.D. 356, 375 (E.D. Cal. 2014) (cleaned up). Plaintiffs request $6,554,433.95 in

                                  25   litigation costs. Class Counsel initially only provided “categories of expenses incurred and the

                                  26   total amounts paid,” which was insufficient to allow the Court to determine the reasonableness of

                                  27   claimed expenses. Wren v. RGIS Inventory Specialists, No. C-06-05778 JCS, 2011 WL 1230826,

                                  28   at *30 (N.D. Cal. Apr. 1, 2011). (Dkt. No. 621-1 at Appx. 3-4.) In response to the Court’s Order,
                                                                                        16
                                       Case 3:20-cv-03131-JSC          Document 631           Filed 03/14/25    Page 17 of 20




                                   1   Class Counsel submitted a supplemental declaration. (Dkt. Nos. 625, 626.) The Court concludes

                                   2   this supplemental declaration has sufficiently substantiated the expenses listed. It demonstrates

                                   3   both the reasonableness of the claimed costs and that these types of costs are generally recoverable

                                   4   in similar cases. Accordingly, the Court awards $6,544,433.95 in litigation costs.

                                   5          The Court previously approved settlement administration costs up to $500,000. (Dkt. No.

                                   6   614 at 18.) The total settlement administration costs as of February 28, 2025 totaled $312,611.61

                                   7   and Verita estimates that it will incur a total of $564,000 in administration costs, but this amount is

                                   8   uncertain. It has, however, agreed to cap its costs at $650,000. (Dkt. No. 627 at ¶ 11; Dkt. No.

                                   9   630 at 2.)

                                  10          C.      Class Representative Incentive Awards
                                  11          “Incentive awards are fairly typical in class action cases.” Rodriguez v. W. Publ’g Corp.,

                                  12   563 F.3d 948, 958 (9th Cir. 2009) (distinguishing incentive awards from incentive agreements, the
Northern District of California
 United States District Court




                                  13   latter of which are “entered into as part of the initial retention of counsel” and “put class counsel

                                  14   and the contracting class representatives into a conflict position from day one”). However, the

                                  15   decision to approve such an award is a matter within the Court's discretion. In re Mego Fin. Corp.

                                  16   Sec. Litig., 213 F.3d 454, 463 (9th Cir. 2000). Incentive awards “are intended to compensate class

                                  17   representatives for work done on behalf of the class, to make up for financial or reputation risk

                                  18   undertaken in bringing the action, and, sometimes to recognize their willingness to act as a private

                                  19   attorney general.” Rodriguez, 563 F.3d at 958-59. Although incentive awards are viewed more

                                  20   favorably than incentive agreements, excessive awards “may put the class representative in a

                                  21   conflict with the class and present a considerable danger of individuals bringing cases as class

                                  22   actions principally to increase their own leverage to attain a remunerative settlement for

                                  23   themselves and then trading on that leverage in the course of negotiations.” Id. at 960 (internal

                                  24   quotation marks and citation omitted). Thus, “district courts must be vigilant in scrutinizing all

                                  25   incentive awards to determine whether they destroy the adequacy of the class representatives.”

                                  26   Radcliffe v. Experian Info. Sols. Inc., 715 F.3d 1157, 1164 (9th Cir. 2013).

                                  27          In determining whether an incentive award is reasonable, courts generally consider:

                                  28                  (1) the risk to the class representative in commencing a suit, both
                                                                                         17
                                       Case 3:20-cv-03131-JSC           Document 631           Filed 03/14/25    Page 18 of 20



                                                      financial and otherwise; (2) the notoriety and personal difficulties
                                   1                  encountered by the class representative; (3) the amount of time and
                                                      effort spent by the class representative; (4) the duration of the
                                   2                  litigation; and (5) the personal benefit (or lack thereof) enjoyed by the
                                                      class representative as a result of the litigation.
                                   3
                                       Covillo v. Specialtys Café, No. C–11–00594-DMR, 2014 WL 954516, at *8 (N.D. Cal. Mar. 6,
                                   4
                                       2014) (quoting Van Vranken v. Atl. Richfield Co., 901 F. Supp. 294, 299 (N.D. Cal. 1995)). A
                                   5
                                       class representative must justify an incentive award through “evidence demonstrating the quality
                                   6
                                       of plaintiff's representative service,” such as “substantial efforts taken as class representative to
                                   7
                                       justify the discrepancy between [his] award and those of the unnamed plaintiffs.” Alberto v.
                                   8
                                       GMRI, Inc., 252 F.R.D. 652, 669 (E.D. Cal. 2008). Further, district courts must evaluate each
                                   9
                                       incentive award individually. See Staton, 327 F.3d at 977.
                                  10
                                              Plaintiffs seek incentive awards of $5,000 each for the three Settlement Class
                                  11
                                       Representatives: Fricke-Parks Press, Inc., Bogard Construction, Inc., and Ritual Coffee Roasters,
                                  12
Northern District of California




                                       Inc. (Dkt. No. 621 at 6, n.1.; 28.) Plaintiffs contend these awards are reasonable based on their
 United States District Court




                                  13
                                       “substantial time and energy participating in this lawsuit.” (Id. at 28.) However, none of the
                                  14
                                       Settlement Class Representative submitted declarations attesting to the work they did in the case
                                  15
                                       and Class Counsel’s declaration just generally attests:
                                  16
                                                      Settlement Class Representatives, for their part, participated in the
                                  17                  litigation by preparing and sitting for depositions, identifying and
                                                      producing relevant documents, working with Settlement Class
                                  18                  Counsel to provide oversight and input on the litigation, and
                                                      otherwise remaining informed about the progress of the case. Class
                                  19                  Counsel defended five depositions of Class Plaintiffs, which included
                                                      Fricke-Parks Press, Inc., Bogard Construction, Inc., and Ritual Coffee
                                  20                  Roasters, Inc.
                                  21   (Dkt. No. 621-1 at ¶ 17.) Plaintiffs have failed to justify the requested incentive awards with any

                                  22   evidence demonstrating the quantity or quality of their representative service. Accordingly, the

                                  23   request for incentive awards is denied.

                                  24                                              CONCLUSION

                                  25          For the reasons stated above, the Court GRANTS Plaintiffs’ motion for final approval of

                                  26   the parties’ class action settlement. In addition, the Court GRANTS Plaintiffs’ motion for

                                  27   attorney’s fees and costs; specifically, the Court awards the following: $2,011,669.82 or 30

                                  28   percent of the Net Settlement Fund ($13.9 million - $6,544,433.95 - $650,000 = $6,705,566.05) in
                                                                                          18
                                       Case 3:20-cv-03131-JSC          Document 631           Filed 03/14/25    Page 19 of 20




                                   1   attorney’s fees; $6,544,433.95 in litigation costs; and DENIES the request for $15,000 in incentive

                                   2   awards for the Settlement Class Representatives.

                                   3          The persons and entities that contacted the Settlement Administrator and/or Settlement

                                   4   Class Counsel by January 28, 2025 about submitting claims after the January 8 deadline shall be

                                   5   given the opportunity to submit a claim. The Settlement Administrator shall inform these persons

                                   6   and entities within fourteen (14) days of this Order that they may submit a claim within thirty (30)

                                   7   days of this Order.

                                   8          In accordance with the Northern District’s Procedural Guidance for Class Action

                                   9   Settlements, “[w]ithin 21 days after the distribution of the settlement funds and payment of

                                  10   attorneys’ fees,” Class Counsel shall file “a Post-Distribution Accounting” that provides the

                                  11   following, to the extent applicable:

                                  12                  The total settlement fund, the total number of class members, the total
Northern District of California
 United States District Court




                                                      number of class members to whom notice was sent and not returned
                                  13                  as undeliverable, the number and percentage of claim forms
                                                      submitted, the number and percentage of opt-outs, the number and
                                  14                  percentage of objections, the average and median recovery per
                                                      claimant, the largest and smallest amounts paid to class members, the
                                  15                  method(s) of notice and the method(s) of payment to class members,
                                                      the number and value of checks not cashed, the amounts distributed
                                  16                  to each cy pres recipient, the administrative costs, the attorneys’ fees
                                                      and costs, the attorneys’ fees in terms of percentage of the settlement
                                  17                  fund, and the multiplier, if any.
                                  18   https://www.cand.uscourts.gov/forms/procedural-guidance-for-class-action-settlements/. Class

                                  19   Counsel shall “summarize this information in an easy-to-read chart that allows for quick

                                  20   comparisons with other cases,” and “post the Post-Distribution Accounting, including the easy-to-

                                  21   read chart, on the settlement website.” See id. To the extent the parties agree to a different

                                  22   schedule including a staged process for a motion to approve distribution as discussed at the final

                                  23   approval hearing, they shall file a stipulation with these dates.

                                  24          The parties shall file a proposed judgment.

                                  25   //

                                  26   //

                                  27   //

                                  28   //
                                                                                         19
                                       Case 3:20-cv-03131-JSC      Document 631          Filed 03/14/25   Page 20 of 20




                                   1         This Order disposes of Docket Nos. 621, 622.

                                   2         IT IS SO ORDERED.

                                   3   Dated: March 14, 2025

                                   4
                                                                                                 JACQUELINE SCOTT CORLEY
                                   5                                                             United States District Judge
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Northern District of California
 United States District Court




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